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 3   Telephone: 916-442-5230
 4   Attorney for:
     JESUS EFRAIN AVILA
 5
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )           CASE NO. 08-CR-00212 LKK
                                   )
11                  Plaintiff,     )           STIPULATION AND ORDER CONTINUING
                                   )           SENTENCING HEARING AND MODIFYING
12        v.                       )           PRESENTENCE REPORT DISCLOSURE
                                   )           SCHEDULE
13   JESUS EFRAIN AVILA, et. al., )
                                   )
14                  Defendants.    )           DATE:    August 30, 2011
                                   )           TIME:    9:15 a.m.
15   ______________________________)           COURT:   Hon. Morrison C. England
16
                                        Stipulation
17
             The parties, through undersigned counsel, stipulate that the
18
     judgement and sentencing hearing scheduled for August 30, 2011, may be
19
     continued to September 20, 2011, at 9:15 a.m.
20
             Defense   counsel   for   Jesus   Avila    is   preparing   the   initial
21
     objections to the preliminary presentence report.            However, there is
22
     a material fact which counsel for the defendant must investigate prior
23
     to raising an initial objection with the assigned Probation Officer.
24
     As such, counsel for the defense needs the additional time requested
25
     to complete the investigation.
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     / / /
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     / / /
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 1        The parties agree to the following schedule for the disclosure of
 2   the presentence report which has also been approved by the assigned
 3   probation officer:
 4        Proposed PSR to Counsel:                         Completed
 5        Counsel’s Written Obj’s to Probation:            August 23, 2011
 6        Presentence Report Filed With Court:             August 30, 2011
 7        Motion for Corrections to PSR:                   September 6, 2011
 8        Reply or Statement of Non-Opposition:            September 13, 2011
 9        Judgment and Sentencing:             September 20, 2011 at 9:15 a.m.
10        The prosecutor has authorized defense counsel to sign this
11   stipulation on his behalf.
12   DATED: August 1, 2011             BENJAMIN WAGNER
                                       United States Attorney
13
                                 by    /s/ Scott Cameron, for
14                                     Todd Leras
                                       Assistant U.S. Attorney
15
16   DATED: August 1, 2011       by    /s/ Scott N. Cameron
                                       Scott N. Cameron
17                                     Counsel for JESUS AVILA
18
                                        Order
19
          Good cause appearing,
20
          The   sentencing   hearing   scheduled     for    August     30,   2011,   is
21
     continued to September 20, 2011, at 9:15 a.m.           The schedule for the
22
     disclosure of the presentence report is modified as set forth in the
23
     above-stated stipulation.
24
          IT IS SO ORDERED.
25
26
     DATED: August 1, 2011
27
28

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